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11   Costco Wholesale Corporation

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13
                                   UNITED STATES DISTRICT COURT
14
                                NORTHERN DISTRICT OF CALIFORNIA
15
                                       SAN FRANCISCO DIVISION
16

17
     IN RE: CATHODE RAY TUBE (CRT)                      Case No. 07-5944 SC
18   ANTITRUST LITIGATION                               MDL No. 1917

19                                                      STIPULATION AND [PROPOSED]
     This Document Relates to:                          ORDER REGARDING WAIVER OF
20                                                      SERVICE AND EXTENSION OF TIME
     Costco Wholesale Corporation v. Technicolor        TO RESPOND TO COMPLAINTS
21   SA et al., No. 13-cv-02037 (W.D. Wash);
22   Alfred H. Siegel, as Trustee of the Circuit City
23   Stores, Inc. Liquidating Trust v. Technicolor SA
     et al., No. 13-cv-05261 (N.D. Cal.)
24
     Best Buy Co., Inc. et al. v. Technicolor SA et
25   al., No. 13-cv-05264 (N.D. Cal.);
26
     P.C. Richard & Son Long Island Corporation
27   et al. v. Technicolor SA et al., No. 13-cv-06327
     (E.D.N.Y.);
28
     STIPULATION AND [PROPOSED] ORDER REGARDING WAIVER OF SERVICE
     AND EXTENSION OF TIME TO RESPOND TO COMPLAINTS
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 1   Electrograph Systems, Inc. et al. v. Technicolor
     SA et al., No. 13-cv-06325 (E.D.N.Y.);
 2
     Schultze Agency Services, LLC v. Technicolor
 3
     SA et al., No. 13-cv-06323 (E.D.N.Y.);
 4
     Office Depot, Inc. v. Technicolor SA et al., No.
 5   13-cv-81174 (S.D. Fla.);
 6   Interbond Corporation of America v.
     Mitsubishi Electric & Electronics USA, Inc. et
 7
     al., No. 13-cv-62482 (S.D. Fla.);
 8
     Sears, Roebuck and Co. & Kmart Corp. v.
 9   Technicolor SA et al., No. 13-cv-05262 (N.D.
     Cal.);
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11   Target Corp. v. Technicolor SA et al., No. 13-
     cv-05686 (N.D. Cal.)
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     STIPULATION AND [PROPOSED] ORDER REGARDING WAIVER OF SERVICE
     AND EXTENSION OF TIME TO RESPOND TO COMPLAINTS
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 1          WHEREAS, Plaintiffs Costco Wholesale Corporation (No. 13-cv-02037, W.D. Wash.);
 2   Alfred H. Siegel, as Trustee of the Circuit City Stores, Inc. Liquidating Trust (No. 13-cv-05261,
 3   N.D. Cal.); Best Buy Co., Inc., Best Buy Purchasing LLC, Best Buy Enterprise Services, Inc.,
 4   Best Buy Stores, L.P., BestBuy.com, L.L.C., and Magnolia Hi-Fi, LLC (No. 13-cv-05264, N.D.
 5   Cal.); P.C. Richard & Son Long Island Corporation, Marta Cooperative of America, Inc., and
 6   ABC Appliance, Inc. (No. 13-cv-06327, E.D.N.Y.); Electrograph Systems, Inc., and Electrograph
 7   Technologies Corp. (13-cv-06325, E.D.N.Y.); Schultze Agency Services, LLC (No. 13-cv-06323,
 8   E.D.N.Y.); Office Depot, Inc. (No. 13-cv-81174, S.D. Fla.); Interbond Corporation of America
 9   (No. 13-cv-62482, S.D. Fla.); Sears, Roebuck and Co. and Kmart Corp. (No. 13-cv-05262, N.D.
10   Cal.); and Target Corp. (No. 13-cv-05686, N.D. Cal.) (collectively “Direct Action Plaintiffs”)
11   filed complaints in the above-referenced actions against, among others, Technicolor SA (f/k/a
12   Thomson SA) and Technicolor USA, Inc. (f/k/a Thomson Consumer Electronics, Inc.)
13   (collectively “Thomson Defendants”);
14          WHEREAS, the above-referenced out-of-district actions were transferred to the In re
15   Cathode Ray Tube (CRT) Multidistrict Litigation in the United States District Court for the
16   Northern District of California, MDL No. 1917, on December 4, 2013 (Dkt. No. 2244);
17          WHEREAS, the Direct Action Plaintiffs wish to avoid the burden and expense of serving
18   process on the Thomson Defendants and the Thomson Defendants desire a reasonable amount of
19   time to respond to Plaintiffs’ Complaints;
20          WHEREAS, Thomson SA has moved to dismiss the First Amended Complaint of Sharp
21   Electronics Corporation and Sharp Electronics Manufacturing Company of America, Inc.
22   (collectively “Sharp Plaintiffs”) (Dkt. No. 2235);
23          WHEREAS, Thomson Consumer Electronics, Inc., has separately moved to dismiss the
24   Sharp Plaintiffs’ First Amended Complaint (Dkt. No. 2236);
25
            WHEREAS, the Direct Action Plaintiffs and the Thomson Defendants believe that
26
     proceeding on a unified response date after the Court has ruled on the Thomson Defendants’
27
     motions to dismiss the Sharp Plaintiff’s First Amended Complaint will create efficiency for the
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     STIPULATION AND [PROPOSED] ORDER REGARDING WAIVER OF SERVICE
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 1   Court and for the parties;
 2          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among the
 3   undersigned counsel, on behalf of their respective clients, as follows:
 4          1.      Pursuant to Federal Rule of Civil Procedure 4(d), the Thomson Defendants waive
 5   service of the Complaints filed by the Direct Action Plaintiffs.
 6          2.      Technicolor USA, Inc.’s (f/k/a Thomson Consumer Electronics, Inc.) deadline to
 7   move to dismiss, answer, or otherwise respond to the Direct Action Plaintiffs’ Complaints will be
 8   the later of (1) February 4, 2014, or (2) thirty days after the Court enters an order on Thomson
 9   Consumer Electronics, Inc.’s Motion to Dismiss the Sharp Plaintiffs’ First Amended Complaint;
10          3.      Technicolor SA’s (f/k/a Thomson SA) deadline to move to dismiss, answer, or
11   otherwise respond to the Direct Action Plaintiffs’ Complaints will be the later of (1) March 6,
12   2014, or (2) thirty days after the Court enters an order on Thomson SA’s Motion to Dismiss the
13   Sharp Plaintiffs’ First Amended Complaint;
14          4.      The undersigned parties jointly and respectfully request that the Court enter this
15   stipulation as an order.
16   Dated: December 31, 2013                   By: /s/ David J. Burman
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                                                Eric J. Weiss
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                                                Nicholas H. Hesterberg
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28                                                   -2-
     STIPULATION AND [PROPOSED] ORDER REGARDING WAIVER OF SERVICE
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13                                     Tweeter Newco, LLC; ABC Appliance, Inc.; Marta
                                       Cooperative of American, Inc., P.C. Richard & Son
14                                     Long Island Corporation
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     STIPULATION AND [PROPOSED] ORDER REGARDING WAIVER OF SERVICE
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                                       Corp.
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                                       Enterprise Services, Inc.; Best Buy Purchasing, LLC;
16                                     Best Buy Stores L.P.; BestBuy.com LLC; Magnolia Hi-
                                       Fi, Inc.
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     STIPULATION AND [PROPOSED] ORDER REGARDING WAIVER OF SERVICE
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 1

 2                                     By: /s/ Kenneth S. Marks
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26
                                       SA); Technicolor USA, Inc. (f/k/a Thomson Consumer
27                                     Electronics, Inc.)

28                                          -5-
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 1
            Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
 2
     document has been obtained from each of the above signatories.
 3
     Dated: December 31, 2013
 4

 5
                                                     By: /s/ David J. Burman
 6                                                        David J. Burman
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     STIPULATION AND [PROPOSED] ORDER REGARDING WAIVER OF SERVICE
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 1   PURSUANT TO STIPULATION, IT IS SO ORDERED.

 2

 3             January 3, 2014
     DATED: ___________________________          _______________________________
                                                 Hon. Samuel A. Conti
 4                                               United States District Judge

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     STIPULATION AND [PROPOSED] ORDER REGARDING WAIVER OF SERVICE
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